Case 4:15-cr-06049-EFS ECFNo.5 filed 12/16/15 PagelD.7 Pagelof1

PENALTY SLIP

DEFENDANT NAME: ROSA GRANADOS, a.k.a La Chuna
TOTAL NO. COUNTS: 1

VIO: 21 U.S.C. §§ 841(a)(1), (b)(1)(A)Gi)(D and (viii), 846
Conspiracy to Distribute 500 Grams or More of a Mixture or Substance
Containing a Detectable Amount of Methamphetamine and 5 Kilograms
of Cocaine .

PENALTY: CAG not less than 10 years nor more than life;
and/or $10,000,000 fine;
not less than 5 years nor more than life supervised release;
a $100 special penalty assessment; and
denial of certain federal benefits pursuant to

21 U.S.C. §§ 862 and 862a

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

CASE

Xo, 4:15-CR-6049-EFS-3

AUSA
INITIAL SAV

P51015JJ.SAV.IHC.PS.docx
